Case 1:15-cv-22717-AMS Document 35 Entered on FLSD Docket 01/05/2016 Page 1 of 1



                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                       CASE NO. 15-22717-CIV-WILLIAMS/SIMONTON

 CARLOS VEGA,

         Plaintiff,

 vs.

 LOOMIS ARMORED US, LLC,

        Defendant.
 _______________________________/

                        ORDER DISMISSING CASE WITH PREJUDICE

         THIS CAUSE came before the Court on the Parties’ Joint Stipulation for Final

  Order of Dismissal with Prejudice, ECF No. [34], regarding Plaintiff Carlos Vega’s claims

  in the above-captioned action. The Parties Stipulation conditions the dismissal with

  prejudice upon the court retaining jurisdiction through January 15, 2016. The Court has

  previously approved the terms of the Settlement Agreement, has reviewed the

  Stipulation, and the pertinent portions of the record, and is otherwise fully advised in the

  premises. It is therefore

         ORDERED and ADJUDGED that this matter is hereby DISMISSED with

  prejudice; the Court retains jurisdiction to enforce the Settlement Agreement through

  January 15, 2016. This case is closed.

         DONE AND ORDERED in chambers this 5th day of January, 2016.



                                            _________________________________________
                                            HONORABLE ANDREA M. SIMONTON
                                            UNITED STATES MAGISTRATE JUDGE


  Copies provided: Counsel of record
